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            EXHIBIT N
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                                   Barker, Epstein & Loscocco
                                           176 Federal Street
                                  Boston, Massachusetts 02110

                                         (617)482-4900
                                       FAX:(617)426-5251


Andrew D Epstein
i'hotolnw'rtiaol.com




                                                                    April 24,2020



Suzanne M. Elovecky, Esq. and                     Matthew H. Greene, Esq.
Partridge Snow & Hahn                             Boyle Shaughnessy Law,PC
30 Federal Street                                 695 Atlantic Avenue
Boston, MA 02110                                  Boston. MA 02111

            Re: Larson v. Dorland et al.
            U.S. District Court for the District of Massachusetts
            Docket Number: 1:19-cv-10203-lT

Dear Suzanne and Matthew:


       This letter together with the enclosures, constitutes Sonya Larson's Initial Disclosures
under Fed. R. Civ. P 26(a)(1).

        Rule 26(a)(l)(A)(i) The name and, ifknown, the address and telephone number ofeach
individual likely to have discoverable information—along with the subjects ofthat information—
that the disclosing party may use to support its claims or defenses, unless the use would be solely
for impeachment:

            In addition to the Plaintill and all Defendants in this Action, the following individuals
may have discoverable information.

      1. Graham Ambrose,former co.rrespondent for the Boston Globe; 847-714-2211; Subject:
            Interference by Cohen Law and Attorney Cohen with Larson's BBF contract;
            commission by Cohen Law and .Aliomey Cohen of violations of MGL. C. 93A;
            defamation by Dorland.
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   2. Norah Piehl, Director of the Boston Book Festival, 32R Essex Street, Cambridge,
      MA 02139, 857-706-1101; Subject: Interference by Cohen Law and Attorney Cohen
      with Larson's BBF contract; commission by Cohen Law and Attorney Cohen of
      violations of MGL.C.93A; defamation by Dorland; damages related to lost
      opportunities resulting from the cancellation of the One City/One Story project featuring
      The Kindest.


   3. Deborah Porter, Founder and Former Director of the Boston Book Festival, 32R Essex
      Street, Ctimbridge, MA 02139, 857-706-1101; Subject: Interference by Cohen Law and
      Attorney Cohen with Larson's BBF contract; commission by Cohen Law and Attorney
      Cohen of violations of MGL. C. 93A; defamation by Dorland; damages related to lost
      opportunities resulting from the cancellation ofthe One City/One Story project featuring
      The Kindest.


   4. Jermifer Grotz, Director of the Bread Loaf Writers' Conference; 204 College
      Street, Middlebury College, Middlebury, VT 05753; 802-443-5286; Subject: Defamation
      by Dorland.

   5. Noreen Cargill, Administrative Director of the Bread Loaf Writers' Conference; 204
      College Street, Middlebury College, Middlebury, VT 05753; 802-443-5286; Subject:
      Defamation by Dorland.

   6. Lauren Francis-Sharma, Assistant Director of the Bread Loaf Writers' Conference; 204
      College Street, Middlebury College, Middlebury, VT 05753; 802-443-5286; Subject:
      Defamation by Dorland.

   7. Jason Lamb,Coordinator of the Bread Loaf Writers'
      Conferences,jlamb@middlebury.edu; 204 College Street, Middlebury
      College, Middlebury, VT 05753; 802-443-5286; Subject: Defamation by Dorland.

   8. Michael Collier, Former Director ofthe Bread Loaf Writers' Conference and Professor at
      the University of Maryland; Department of English, 2119 Tawes Hall, College Park, MD
      20742; Subject: Defamation by Dorland.

   9. Rebecca Markovits, editor of American Short Fiction, P.O. Box 4152; Austin, TX 78765;
      as well as other staff and board members of ASF yet to be identified; Subject:
      Defamation by Dorland.
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   10. Eve Bridburg, Founder and Executive Director of GrubStreet, 162 Boylston Street,
       Boston, MA 02116,617-695-0075; Subject: Defamation by Dorland.

   11. Ian Jude Chio, Chief Financial Officer of GrubStreet, 162 Boylston Street, Boston,
       MA 02116,617-695-0075; Subject: Defamation by Dorland.

   12. Kathy Sherbrooke, Chair ofthe Board of Directors of GrubStreet, 162 Boylston Street,
       Boston, MA 02116,617-695-0075; Subject: Defamation by Dorland.

   13. Christopher Castellani, Artistic Director of GrubStreet, 162 Boylston Street, Boston,
       MA 02116,617-695-0075; Subject: Defamation by Dorland; Damages related to lost
       productivity and emotional distress.

   14. Adam Stumacher, writer and member of Larson's writing group, 2 Autumn Hill Ln,
       Southborough, MA 01772,617-642-2220; Subject: Defamation by Dorland; Damages
       related to lost productivity and emotional distress.

   15. Jennifer De Leon, writer and member of Larson's writing group; 2 Autumn Hill Ln,
       Southborough, MA 01772,508-505-1082; Subject: Defamation by Dorland; Damages
       related to lost productivity and emotional distress; lost opportunities when the BBF
       cancelled The Kindest as the One Story/One City winner.

   16. Chip Cheek, writer and member of Larson's writing group; 2012 Carnegie Lane B,
       Redondo Beach, CA 90278; 917-586-0463; Subject: Defamation by Dorland; Damages
      related to emotional distress;

   17. Daphne Kalotay, writer and previous winner of One City/One Story competition of the
       BBF;245 Beacon Street #8, Somerville, MA 02143, 857-225-2604; Subject: Damages
       related to lost opportunities when the BBF cancelled the One City/One Story program
      featuring The Kindest.

   18. Eson Kim,colleague; Grub Street, 162 Boylston Street, Boston, MA 02116,617-695-
       0075; Subject: Damages related to lost productivity and emotional distress.

   19. Dariel Suarez, colleague; Grub Street, 162 Boylston Street, Boston, MA 02116,617-695-
       0075; Subject: Damages related to lost productivity and emotional distress.
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   20. Sean van Deuren, colleague; Grub Street, 162 Boylston Street, Boston, MA 02116,617-
       695-0075; Subject: Damages related to lost productivity and emotional distress.

   21. Hanna Katz, colleague; Grub Street, 162 Boylston Street, Boston, MA 02116,617-695-
      0075; Subject: Damages related to lost productivity and emotional distress.

   22. Erin Cohen,colleague; Grub Street, 162 Boylston Street, Boston, MA 02116,617-695-
       0075; Subject: Damages related to lost productivity and emotional distress.

   23. Lauren Rheaume,colleague; Grub Street, 162 Boylston Street, Boston, MA 02116,617-
      695-0075; Subject: Damages related to lost productivity and emotional distress.

   24. Alysia Abbott, colleague; Grub Street, 162 Boylston Street, Boston, MA 02116,617-695-
      0075; Subject: Damages related to lost productivity and emotional distress.

   25. Celeste Ng,friend and fellow writer; 42 Steams Street, Cambridge, MA 02138,617-347-
      7409; Subject: Damages related to emotional distress.

   26. Whitney Scharer, friend and fellow writer; 20 Jason Street, Arlington, MA 02476,617-
       308-6816; Subject: Damages related to emotional distress.

   27. Grace Talusan, friend and fellow writer; 67 Frederick Ave., Medford MA 02155,617-
       359-5291; Subject: Damages related to emotional distress.

   28. Calvin Hennick, friend and fellow writer; 31 Parkway Crescent, Milton, MA 02186,917-
       569-2992; Subject: Deimages related to emotional distress.

   29. Alex Marzano-Lesnevich, friend and fellow writer; 201-280-7884; Subject: Damages
      related to emotional distress.

   30. Becky Tuch,friend and fellow writer; 5506 5th Avenue,#216B,Pittsburgh, PA
      15232, 617-331-9109; Subject: Damages related to emotional distress.

   31. Lisa Borders, friend and fellow writer; 1917 Commonwealth Avenue, Auburndale, MA
       02466,617-513-6988; Subject: Damages related to emotional distress.

   32. Anya Weber, friend and fellow writer; anya.r.weber@gmail.com,617-314-3248; Subject:
      Damages related to emotional distress.
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   33. Sari Boren,friend and fellow writer; 189 Walden Street #2, Cambridge, MA 02140,617-
       939-3712; Subject: Damages related to emotional distress.


        Rule 26(a)(1)(A)(ii) A copy—or a description by category and location—ofall documents,
electronically stored information, and tangible things that the disclosing party has in its
possession, custody, or control and may use to support its claims or defenses, unless the use
would be solelyfor impeachment;

       Plaintiff is producing the following documents and things.

   • The Kindest- Five variations including the Brilliance Variant; the Audible Variant; the
       ASF Variant; the Variant submitted to the BBF for the One City/One Story competition;
       and the Final BBF Variant.


       Escrow Agreement by and between Larson and the BBF and Gregorio, PLLC.

       Charles Schwab Domestic Wire Transfer Request for $10,000, dated August 6,2018,
       from the account of Sonya Clare Larson to First Bank in Greensboro, NC.(Redacted)

       Email correspondence by and between Graham Ambrose of the Boston Globe and
       Larson,from June through August 2018.

       Email correspondence by and between Graham Ambrose of the Boston Globe and Eve
       Bridburg of GrubStreet, Inc., dated July 23,2018.

       Letter sent by Larson to Ambrose of the Boston Globe.

       Email from Deborah Porter to Larson dated August 13, 2018.

       Email correspondence by and between Jeffrey Cohen and Epstein regarding U.S. Express
       Mail letter sent in October 2018, and direct communication from Dorland to Epstein.

       Email chains by and between Larson and Norah Piehl of the BBF in June and July 2018.

       Two email chains by and between Larson and Rebecca Markovits of American Short
       Fiction in June 2018.
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       Various emails in July 2015, and June and July 2016, by and between Dorland and
       Larson.


   • Emails by and between Adam Stumacher and Dorland dated July 27-28,2018.

   • Emails between Jennifer Grotz and Larson including emails from Dorland and Jason
     Lamb, Coordinator, Bread Loaf Writer's Conferences, Middlebury College. And Noreen
     Cargill, Middlebury College, in June and August, 2018.

   • Emails by and between Larson and Jennifer Lee and Chaz Curet at Plympton between
     July and October 2016.

       Exhibits A through P, which are attached to Plaintiffs Amended Complaint, and Exhibits
A through F which are attached to Plaintiffs Opposition to one or more of Defendants' Motions
to Dismiss are not being produced with this Initial Disclosure since they are already part ofthe
record. Copies will be produced on request. Omitted from this production are communications
that may be subject to Ms. Larson's attorney/client privilege.

        Rule 26(a)(1)(A)(Hi)A computation ofeach category ofdamages claimed by the
disclosing party—who must also make availablefor inspection and copying as under Rule 34 the
documents or other evidentiary material, unless privileged or protectedfrom disclosure, on
which each computation is based, including materials bearing on the nature and extent of
injuries suffered.

Damages

Lost Opportunities in an amount to be determined:

   • Distribution in print of 30,000 copies of The Kindest in English and Spanish, distributed
     to every branch ofthe Boston Public Library, the MBTA,and more than 40 bookstores,
     literary centers and shops, as well as online distribution in English and Spanish.
   • Translation of the story into Mandarin. Russian, Portuguese. Spanish, Haitian-Creole and
     French, to be posted online for free downloading.
   • Likely interviews and features on WBUR,the Boston Globe, the Somerville Times, and
     other media outlets that have typically featured the winning One City/One Story authors
     and stories in years past.
   • Two to three appearances and live discussions at the Boston Book Festival.
   • Likely 5-15 discussions about the work at Boston-area schools, colleges, library
       branches, community centers, and classrooms.
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  • Untold other opportunities brought about by new readership, including possible book
    deals and sale of film rights.
  • Promotion of The Kindest via the Boston Book Festival's press releases and social media
    feeds including to the BBF Twitter followers.
  • Appearances at numerous events including but not necessarily limited to Books on the T.
  • Special celebration in Cambridge
  • Satellite festival in East Boston as well as in Copley Square.

Lost Money: damages to be determined.

  • Total legal fees and related expenses.

Lost Productivity: damages to be determined.

  • At Work: Plaintiff was interrupted at doing her job, especially as Ms. Dorland continued
    to make legal threats to her and the Boston Book Festival. Plaintiff missed many
    meetings and had to delay several projects.
  • Prior to June 7^, Plaintiff was writing on a four-week fellowship. After June 7**^, her
      writing virtually stopped as a result ofthe accusations of Ms. Dorland.
  • Plaintiff had to rescind or delay reprints of"The Kindest" with four anthologies that
    wanted to include it in an anthology.
  • Canceled and delayed manuscript consultations with writers which resulted in the loss of
    income and opportunities.
  • Plaintiff had to cancel scheduled trip to Montreal from July 19-23'^'', due to need to
      respond to accusations of Ms. Dorland and Cohen Law resulting in a loss of income.


Evidence of Emotional Distress: damages to be determined.

  • Extreme anxiety. Frequently sought advice and assurance from professionals,family and
      friends.
  • Plaintiff felt she was being stalked by Dorland and she investigated the process ofa
    obtaining a restraining order against Dorland after Dorland contacted her workplace.
  • Difficulty sleeping—^took sleeping pills nights nightly for weeks in order to aid in
      sleeping.
  • Difficulty eating and keeping food down which resulted in loss of weight.
  • Extreme anxiety in trying to cope with the events perpetrated by Dorland and Cohen
      Law.
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       Plaintiff reserves the right to supplement these initial disclosures as additional witnesses
and documents are discovered. Also, I was hampered in preparing these disclosures as a result of
the inability to meet in person with Ms. Larson to review all ofthe documents and disclosures.

                                                            V ry truly )|ours.

                                                                       . Epstein
